Case 2:04-cr-20415-.]PI\/| Document 85 Filed 06/24/05 Page 1 of 3 Page|D 104

IN THE UNITED sTATEs DISTRICT coURT ’&E=.f_-. w :t.
FOR THE wEsTERN DIsTRIcT 0F TENNESSEE

 

wEsTERN DIvIsION GSjUHZQ PHI; UL
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UNITED sTATEs OF AMERICA VJD …"1'* “¢
Plaintiff,
v. Criminal No. C¥¢-ZQHH§E- Ml
LHNDOA] CLH'Y (60-Day Cc>ntinuance)

 

 

 

 

 

\_r\/VVVV~_/VVVVMVVVV\_/~_/~_,

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. August 26. 2005, with trial to take place on
the September, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through September 16, 2005. Agreed in

open court at report date this 24th day of June, 2005.

This document entered on the docket sheet in compliance

with laura 55 and/or 32(b) FHch on 0 32 1 195

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so ORDERED this 24th day of June, 2005.

9 min

JON PHIPPS MCCALLA
UN ED STA'I`ES DIS'I`RICT JUDGE

[)m/}d C. />é/)m

Assistant United States ¥ttorney

 

 

 

 

 

Counsel for Defendant(s)

   

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 85 in
case 2:04-CR-20415 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

David Charles Henry

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Honorable .1 on McCalla
US DISTRICT COURT

